      Case 4:21-cr-06028-MKD     ECF No. 63    filed 08/30/21   PageID.216 Page 1 of 3




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 6   Telephone: (509) 353-2767
 7
 8                          UNITED STATES DISTRICT
 9                 FOR THE EASTERN DISTRICT OF WASHINGTON
10
11   UNITED STATES OF AMERICA,
12                                                Case No.: 4:21-cr-06028-RMP-3
                             Plaintiff,
13                                                Motion To File Attachments A, B,
14                v.                              and D Under Seal
15   JOEL CHAVEZ-DURAN,
16
17                           Defendant.

18
19         Plaintiff, United States of America, by and through Joseph H. Harrington,
20   Acting United States Attorney for the Eastern District of Washington, and
21   Stephanie Van Marter, Assistant United States Attorney for the Eastern District of
22   Washington, submits the following Motion To File Attachments Under Seal to
23   United States’ Response to Motion To Suppress. Attachments A, B, and D,
24   although
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     Motion to File Attachments A, B, and D Under Seal – 1
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 1
 2   provided to defense counsel in discovery and under agreement to a Protective
 3   Order, are under Seal by Order of the Court. Attachment D has been provided to
 4   the Defendant in discovery, however, should be filed under seal as it pertains to
 5   this motion. Attachment D contains sensitive information which if disclosed, may
 6
     create a security issue.
 7
 8
 9         Dated: August 30, 2021.
10                                                Joseph H. Harrington
11                                                Acting United States Attorney
12
13                                                s/ Stephanie Van Marter
14                                                Stephanie Van Marter
                                                  Assistant United States Attorney
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     Motion to File Attachments A, B, and D Under Seal – 2
       Case 4:21-cr-06028-MKD     ECF No. 63    filed 08/30/21   PageID.218 Page 3 of 3




 1                            CERTIFICATE OF SERVICE
 2
           I hereby certify that on August 30, 2021, I electronically filed the foregoing
 3
 4   with the Clerk of the Court using the CM/ECF System which will send notification
 5   of such filing to the following, and/or I hereby certify that I have mailed by United
 6
 7   States Postal Service the document to the following non‑CM/ECF participant(s):

 8   Adam Pechtel
 9   adam@pechtellaw.com
10
                                                   s/ Stephanie Van Marter
11                                                 Stephanie Van Marter
12                                                 Assistant United States Attorney
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     Motion to File Attachments A, B, and D Under Seal – 3
